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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CRIMINAL NO. 18-CR-303 (TPH)
v.
JACKSON COSKO,
Defendant.
PROTECTIVE ORDER GOVERNING DISCOVERY

Upon consideration of the unopposed motion of the parties and adequately protect
personal identity information entitled to be kept confidential, it is, pursuant to the Court’s authority
under Fed. R. Crim. P. l6(d)(l) and with the consent of the parties, ORDERED:

All Discovery Materials

l. All discovery materials provided by the United States in preparation for, or in
connection With, any stage of the proceedings in this case (collectively, “d_iscovery materials”) are
subject to this protective order (“the Order”) and may be used by the defendant, defendant’s
counsel, legal experts, administrative personnel, investigators, data or accounting analysts,
and database processors (collectively, “the Defense”) solely in connection With the defense of
this case, and for no other purpose and in connection With no other proceeding, Without further
order of this Court. Before any discovery materials are provided to any member of the
Defense, such member of the Defense must be provided With a copy of this Order and must
agree in Writing to abide by the terms ofthis Order.

2. The Defense Will not share or provide discovery materials or their contents directly
or indirectly to any person or entity other than persons Who are interviewed as potential Witnesses,

counsel for potential Witnesses, and other persons to Whom the Court may authorize disclosure

(collectively, “authorized persons”'). Authorized persons may be shown copies of

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discovery materials as necessary to prepare the defense, but may not retain copies or
create copies without prior permission ofthe Court.

3. The Defense will not copy or reproduce discovery materials except in order to
provide copies of the discovery materials for use in connection with this caseby the Defense.
Such copies and reproductions will be treated in the same manner as the original discovery
materials. The Defense and authorized persons will not disclose any notes or records of any kind
that they make in relation to the contents of discovery materials, and all such notes or records are
to be treated in the same manner as the original discovery materials,

4. Before providing any discovery materials to an authorized person, the Defense
must provide the authorized person with a copy of this Order and that person must agree in
writing to abide by the terms of this Order.

5. Upon conclusion of all stages of this criminal case, all of the discovery materials
and all copies made thereof shall be disposed of in one of three ways, unless otherwise ordered
by the Court. The discovery materials may be (l) destroyed; (2) returned to the United
States; or (3) retained in defense counsel’s case file. The Court may require a certification
as to the disposition of any such materials, ln the event that defense counsel retains the
discovery materials, the restrictions of this Order continue in effect for as long as the
materials are so maintained, and the materials may not be disseminated or used in connection with
any other matter without further order of the Court.

6. To the extent that any discovery materials are provided by the United States to
the Defense by mistake, the United States has the right to request the return of the materials and
will do so in writing. Within seven days o.f such a request, the Defense will return all such

materials if in hard copy, and in the case of electronic materials, will certify in writing that all

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copies of the specified materials have been deleted from any location in which the materials
Were stored.

7. Except as provided for sensitive materials, below, the restrictions set forth in this
Order do not apply to discovery materials that are included in the parties’ public filings with the
Court, or that otherwise are or become part of the public court record, including documents that
have been received in evidence at other trials, nor do the restrictions in this Order limit defense
counsel in the use of the discovery materials in judicial proceedings in this case, subject to the terms
of this Order.

Sensitive Materials

8. Discovery materials that the United States produces to the Defense may contain (l)
personal identity information as identified in Rule 49.1 of the Federal Rules of Criminal Procedure
(“personal identity information”); (2) materials obtained from the United States Congress; (3)
analysis and forensic reports of electronic materials searched in this case; and/or (4) certain records
relating to third parties and potential witnesses to this matter (all, collectively, “sensitive
materials”). The United States will plainly mark sensitive materials as “sensitive,” either
individually or collectively, before they are produced to the Defense. lf the Defense contests the
marking of any material as sensitive by the United States, the Defense Will alert and confer With the
United States. In the event of continued disagreement, the Defense may raise the issue with Court
by filing a motion under seal.

9. Unless otherwise provided in this paragraph, the Defense shall not disclose to any
person sensitive materials, or the information contained therein. Defense counsel may show
sensitive materials, or disclose their contents, to the defendant or to any other potential witness to

whom the sensitive information directly pertains, and such other potential witness’ counsel, as is

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necessary to assist in preparation of the defense. However, defense counsel may not provide to the
defendant or such other person copies of any sensitive materials or information from sensitive
materials, without prior notice to the United States or authorization from the Court. The United
States will not object to the Defense seeking ex parte authorization from the Court to make a
disclosure not otherwise permitted under this paragraph where prior notice would reveal to the
government its defense strategy.

10. Sensitive materials will be maintained in the custody and control of defense counsel.
Sensitive materials and information from sensitive materials may not be left unattended with the
defendant. The defendant, and any other potential witness and such other potential witness’
counsel, may not write down or otherwise record any identifying or contact information related to
any other Witness, or any personal identity information, contained in the sensitive materials,
Defense counsel, or counsel for other persons, will ensure that any notes do not contain such
information

l l. The parties will file under seal all documents that contain sensitive material, unless
both parties agree that such document may be filed publicly with appropriate redactions. If a party
wishes to publicly file a document that contains such redactions, it will first provide a redacted copy
to the opposing party. If the opposing party makes no objection within five days, the redacted copy
may be filed publicly. Disputes regarding redacted filings may be brought to the attention of the
Court. The Clerk will accept for filing under seal any filings so marked by the parties pursuant to
this Order.

12. The procedures for use of sensitive materials during any hearing or the trial of this
matter will be determined by the parties and the Court in advance of the hearing or trial. No party

will disclose designated sensitive materials in open court without prior consideration by the Court.

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l3. The failure by the United States to designate any materials as “sensitive” upon
disclosure to the Defense will not constitute a waiver of the United States’ ability to later designate

the materials as sensitive.

Scope of this Order

14. Modification Permitted. Nothing in this Order will prevent any party from seeking
modification of this Order or from objecting to discovery that it believes to be otherwise improper.

15. No Ruling on Discoverability or Admissibility. This Order does not constitute a
ruling on the question of whether any particular material is properly discoverable or admissible and
does not constitute any ruling on any potential objection to the discoverability of any material

16. Classified Materials to be Addressed Separately. This Order does not constitute
a ruling that relates to the handling of classified information See generally 18 U.S.C. Appx. 3,

Classified Inforrnation Procedures Act.

so oRDERED this />/day of UMK

JUDGE THOMAS F. HOGAN
UNITED STATES DISTRICT C OR THE

DISTRICT OF COLUMBIA

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